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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 KELVIN MILES,

                Plaintiff,

        v.                                             Civil Action No. 21-cv-2271 (FYP)

 WILLIAM BARR, et al.,

                Defendants.


                                             ORDER
       On April 21, 2021, plaintiff Kelvin Miles filed this action in the District of Columbia

Superior Court against defendants William Barr, John Ashcroft, Alberto Gonzales, Lorretta

Lynch, and David Stanley, alleging that Plaintiff is wrongfully imprisoned and that he was

maliciously prosecuted. See ECF No. 1. The case was removed to this Court on August 26,

2021. Id. On November 2, 2021, Defendants filed a Motion to Dismiss pursuant to Federal

Rules of Civil Procedure 12(b)(1), 12(b)(5), and 12(b)(6). See ECF No. 8. Because Plaintiff is

proceeding pro se, the Court issued an order advising Plaintiff of his obligation to respond to

Defendants’ Motion to Dismiss, under the Federal Rules of Civil Procedure and the local rules of

this Court, and setting the deadline of December 7, 2021, for Plaintiff to file his response. See

ECF No. 9 (citing Fox v. Strickland, 837 F.2d 507, 509 (D.C. Cir. 1988); Neal v. Kelly, 963 F.2d

453, 456 (D.C. Cir. 1992)). The Court further cautioned Plaintiff that failure to respond could

result in the Court granting the Motion as conceded. Id.

       On November 30, 2021, Plaintiff filed an Amended Complaint. See ECF No. 12.

Defendants then filed a Motion to Dismiss the Amended Complaint on December 14, 2021. See

ECF No. 13. As a result, the Court denied the [8] Motion to Dismiss the original complaint, see
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Order, dated December 14, 2021; and ordered Plaintiff to respond to the renewed [13] Motion to

Dismiss by January 11, 2022. See ECF No. 14. Plaintiff subsequently filed a Motion to

Withdraw the Amended Complaint on December 27, 2021. See ECF No. 16. The Court granted

the [16] Motion to Withdraw; denied the renewed [13] Motion to Dismiss as moot; and

reinstated the original [8] Motion to Dismiss. See Order dated January 7, 2022. The Court then

ordered Plaintiff to respond to the [8] Motion to Dismiss by February 4, 2022, and again

cautioned Plaintiff that failure to respond would result in the Court granting the Motion to

Dismiss as conceded. See ECF No. 17. Plaintiff filed a motion for extension of time to respond

on January 28, 2022. See ECF No. 20. The Court granted Plaintiff’s motion and extended the

deadline for Plaintiff to file an opposition to the Motion to Dismiss to March 2, 2022. See Order,

dated February 2, 2022. 1

         The March 2, 2022, deadline has passed, and Plaintiff has not filed an opposition to

Defendants’ Motion to Dismiss, nor requested another extension of time to respond to the

Motion. Local Civil Rule 7(b) provides that if a memorandum in opposition to a party’s motion

is not filed within the prescribed time, “the Court may treat the motion as conceded.” Rule 7(b)

“is a docket-management tool that facilitates efficient and effective resolution of motions.”

Texas v. United States, 798 F.3d 1108, 1113 (D.C. Cir. 2015) (quoting Fox v. Am. Airlines, Inc.,

389 F.3d 1291, 1294 (D.C. Cir. 2004)). “The Court need not provide notice before enforcing the

rule or offer a party an opportunity to explain its failure to comply.” Vemuri v. Napolitano, 771

F. Supp. 2d 27, 28 (D.D.C. 2011) (citing Fox, 389 F.3d at 1295).




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         On February 10, 2022, the Court granted Plaintiff’s request to amend his complaint, but still ordered he file
a response to defendants’ Motion to Dismiss by March 2, 2022, and that the defendants address the additional
allegation in their reply. See Order, dated February 10, 2022
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        Given Plaintiff’s failure to respond to Defendants’ Motion, pursuant to Local Civil Rule

7(b), it is hereby

        ORDERED that Defendants’ Motion to Dismiss is GRANTED as conceded.
        SO ORDERED.


                                                    ____________________________
                                                    FLORENCE Y. PAN
                                                    United States District Judge

Date: March 8, 2022
